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5
6    Attorneys for Defendant
     JORGE ALEJANDRO ABURTO
7
8                                            UNITED STATES DISTRICT COURT
9                                           EASTERN DISTRICT OF CALIFORNIA
10
11
     UNITED STATES OF AMERICA,                           No. Cr. F 10-353 LJO
12
                               Plaintiff,                STIPULATED MOTION AND ORDER TO
13                                                       REDUCE SENTENCE PURSUANT TO 18
               v.                                        U.S.C. § 3582(c)(2)
14
     JORGE ALEJANDRO ABURTO,                             RETROACTIVE DRUGS-MINUS-TWO
15                                                       REDUCTION CASE
                               Defendant.
16                                                       Judge: Honorable LAWRENCE J. O’NEILL
17
               Defendant, JORGE ALEJANDRO ABURTO by and through his attorney, Assistant
18
     Federal Defender David M. Porter, and plaintiff, UNITED STATES OF AMERICA, by and
19
     through its counsel, Assistant U.S. Attorney Kathleen Servatius, hereby stipulate as follows:
20
               1.         Pursuant to 18 U.S.C. § 3582(c)(2), this Court may reduce the term of
21
     imprisonment in the case of a defendant who has been sentenced to a term of imprisonment
22
     based on a sentencing range that has subsequently been lowered by the Sentencing Commission
23
     pursuant to 28 U.S.C. § 994(o);
24
               2.         On May 21, 2012, this Court sentenced Mr. Aburto to a term of 80 months
25
     imprisonment;
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               3.         His total offense level was 23, his criminal history category was IV, the resulting
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     guideline range was 70 to 87 months;
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     Stipulation and Order Re: Sentence Reduction           1
       Case 1:10-cr-00353-LJO Document 148 Filed 02/27/15 Page 2 of 3


1              4.         The sentencing range applicable to Mr. Aburto was subsequently lowered by the
2    United States Sentencing Commission in Amendment 782, made retroactive on July 18, 2014,
3    see 79 Fed. Reg. 44,973;
4              5.         Mr. Aburto’s total offense level has been reduced from 23 to 21, and his amended
5    guideline range is 57 to 71 months;
6              6.         Accordingly, the parties request the Court enter the order lodged herewith
7    reducing Mr. Aburto’s term of imprisonment to 67 months.
8    Respectfully submitted,
9    Dated: February 25, 2015                           Dated: February 25, 2015
10   BENJAMIN B. WAGNER                                 HEATHER E. WILLIAMS
     United States Attorney                             Federal Defender
11
12   /s/ Kathleen A. Servatius                          /s/ David M. Porter
     KATHLEEN A. SERVATIUS                              DAVID M. PORTER
13   Assistant U.S. Attorney                            Assistant Federal Defender
14   Attorney for Plaintiff                             Attorney for Defendant
     UNITED STATES OF AMERICA                           JORGE ALEJANDRO ABURTO
15
16                                                     ORDER
17             This matter came before the Court on the stipulated motion of the defendant for reduction
18   of sentence pursuant to 18 U.S.C. § 3582(c)(2).
19             The parties agree, and the Court finds, that Mr. Aburto is entitled to the benefit
20   Amendment 782, which reduces the total offense level from 23 to 21, resulting in an amended
21   guideline range of 57 to 71 months.
22             IT IS HEREBY ORDERED that the term of imprisonment imposed in May 2012 is
23   reduced to a term of 67 months.
24             IT IS FURTHER ORDERED that all other terms and provisions of the original judgment
25   remain in effect. The clerk shall forthwith prepare an amended judgment reflecting the above
26   reduction in sentence, and shall serve certified copies of the amended judgment on the United
27   States Bureau of Prisons and the United States Probation Office.
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     Stipulation and Order Re: Sentence Reduction          2
       Case 1:10-cr-00353-LJO Document 148 Filed 02/27/15 Page 3 of 3


1              Unless otherwise ordered, Mr. Aburto shall report to the United States Probation Office
2    within seventy-two hours after his release.
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     IT IS SO ORDERED.
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5         Dated:         February 26, 2015                    /s/ Lawrence J. O’Neill
                                                           UNITED STATES DISTRICT JUDGE
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     Stipulation and Order Re: Sentence Reduction      3
